Case 9:17-cv-80407-BB Document 1-2 Entered on FLSD Docket 03/30/2017 Page 1 of 4




                    EXHIBIT 1
  Case 9:17-cv-80407-BB Document 1-2 Entered on FLSD Docket 03/30/2017 Page 2 of 4


Filing # 52814446 E-Filed 02/22/2017 11:02:58 AM

        IN THE CIRCUIT COURT OF THE
        15TH JUDICIAL CIRCUIT, IN AND FOR
        PALM BEACH COUNTY, FLORIDA

        DOMENICK LIVOLSI,

               Plaintiff,                                   CASE NO: 50-17-CA-2115

        VS.

        STATE FARM MUTUAL AUTOMOBILE
        INSURANCIkOMPANY,

               Defeniant,




               Plaintiff, DOMENICK LIVOLSI, by and through the undersigned counsel, hereby sues

        Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY (hereinafter

        "STATE FARM") and states:

                                        GENERAL ALLEGATIONS

               1.      This is an action for damages in excess of Fifteen Thousand ($15,000.00) Dollars,

        exclusive of interest, costs and attorney's fees and is otherwise in excess of the jurisdictional

        requirements 6f this Court.

               2.      That Plaintiff, DOMENICK LIVOLSI, is over eighteen years of age, a resident of

        Palm Beach County, Florida, and is otherwise suijuris.

               3.     . That at all times material hereto, Defendant, STATE FARM, is and was in insurer

        licensed to dobusiness and doing business in Palm Beach County, Florida.

               4.      That at all times material hereto, Plaintiff, DOMENICK LIVOLSI, was a driver

        operating a 2009 Cadillac CTS insured by Defendant, STATE FARM, under Policy No.: 59-

        783D-625.

               S.    I Said insurance policy provides insurance benefits for claims arising out of

        accidents with underinsured or underinsured motorists.


                                                   Page 1 of 3
Case 9:17-cv-80407-BB Document 1-2 Entered on FLSD Docket 03/30/2017 Page 3 of 4




               6.    That venue is proper in Palm Beach County, Florida where Plaintiff is a resident

     and is an "insured" under the STATE FARM policy providing uninsured/underinsured motorist

     coverage. In addition, all or a majority of Plaintiff's medical treatment has occurred in Palm

     Beach Count Florida.

                          COUNT I - UNDERINSURED MOTORIST CLAIM
                                     AGAINST STATE FARM

               7.    Plaintiff re-alleges and re-affirms paragraphs 1 through 6, inclusive, as if fully set

     forth herein.

               8.    ,That on or about December 16, 2015, an underinsured motorist negligently

     operated or maintained a motor vehicle so that it violently collided with the westbound 2009

     Cadillac CTSt which Plaintiff, DOMENICK LIVOLSI, was driving on Donald Ross Road in

     Palm Beach County, Florida.

               9.    That as a result of the negligence of the underinsured motorist, Plaintiff,

     DOMENICK,' LIVOLSI, suffered bodily injury, resulting in pain and suffering, disability,

     disfigurement. inconvenience, mental anguish, loss of capacity for the enjoyment of life, lost

     wages, lost earning capacity, expenses of medical, hospital and nursing care and treatment,

     and/or reaggravation of a previously existing condition. These losses are permanent and

     continuing in',-nature and the Plaintiff, DOMENICK LIVOLSI, will suffer such losses in the

     future.

               10.   That Defendant, STATE FARM, had a contract of insurance for compensatory

     damages suffered by Plaintiff pursuant to the terms of the policy wherein he suffered damages as

     a result of an 14ccident by an underinsured motorist.

               11,   jThat after all of the conditions precedent were met, a Civil Remedy Notice of

     Insurer Violalions was filed with the Florida Department of Financial Services on January 31,




                                                   Page 2 of 3
Case 9:17-cv-80407-BB Document 1-2 Entered on FLSD Docket 03/30/2017 Page 4 of 4




     2017 (Filing #333195). A copy of the Civil Remedy Notice of Insurer Violations is attached

     hereto as Exhibit "A".

            12,     In addition, Defendant, STATE FARM, has waived its subrogation rights against

     the aforementioned underinsured motorist.

            13.     That the true and correct copy of the policy is in the possession of Defendant,

     STATE FARM, and is incorporated by reference herein.

            14.     That the Defendant, STATE FARM, has been unwilling or unable to compensate

     Plaintiff, DOMENICK LIVOLSI, pursuant to the underinsured motorist coverage terms of the

     policy for the damages outlined in paragraph #9.

            15.    rThat as a result of the breach of this policy by Defendant, STATE FARM,

     Plaintiff, DOMENICK LIVOLSI, has not been compensated for damages pursuant to the

     underinsured 'motorist provisions of the policy.

            WHEREFORE, the Plaintiff, DOMENICK LIVOLSI, demands judgment for damages

     and costs against Defendant, STATE FARM, and further demands trial by jury.

            DATED this 22nd day of February, 2017.
                                                          WILLIAM W. PRICE, P.A.
                                                          Attorneys for Plaintiff
                                                          521 South Olive Avenue
                                                          West Palm Beach, FL 33401
                                                          Telephone (561)659-3212
                                                          Fax (561)659-0323
                                                          wpricc(wuricepa.com
                                                          michaeLherman(wpriccpa,com
                                                          marv,campanOfl(wnriCepa.cOm
                                                          karla.iriartetiiwpricepa.com

                                                          By: /s/ William W. Price
                                                             WILLIAM W. PRICE, ESQ.
                                                             Florida Bar No. 313130
                                                             MICHAEL S. HERMAN, JR., ESQ.
                                                             Florida Bar No. 102304




                                                  Page 3of3
